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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
v.                                               §           CRIMINAL NO. 4:23-cr-00165-1
                                                 §
                                                 §
DANIEL BYRD                                      §

             DEFENDANT’S UNOPPOSED MOTION FOR CONTINUANCE

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, Daniel Byrd, who respectfully requests this Honorable Court to enter an

 order continuing this cause and in support thereof would show as follows:

        1. The United States Government is unopposed to this motion.

        2. The case is currently scheduled for Pretrial Conference on November 27, 2023, and

            Trial on December 4, 2023.

        3. Defendant is still in the process of completing discovery.

        4. The Defendant has filed a waiver for a speedy trail.

        5. This motion is not made for delay.

 WHEREFORE, PREMISES CONSIDERED, Defendant requests that this Honorable Court grant

 this motion and reset the trial for 90 days or whichever date this Honorable Court sees fit.

                                             Respectfully submitted,

                                             PAUL DOYLE & ASSOCIATES, P.C.

                                             By: /s/ Paul Doyle
                                             Paul Doyle
                                             State Bar No. 24011387
                                             Trevor Sharon
                                             State Bar No. 24086579


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                                            ATTORNEYS FOR DEFENDANT

                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on the 21st day of November 2023, the foregoing
 was electronically filed with the Clerk of the Court using the CM/ECF system which sent
 notification of such filing to all counsel of record.

                                                    /s/ Paul Doyle
                                                    Paul Doyle
                                                    Attorney for Daniel Byrd




                             CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that on the 21st day of November 2023, counsel
spoke the assigned, Assistant United States Attorney, stating that he was unopposed to this
motion.

                                                    /s/ Trevor Sharon
                                                    Trevor Sharon
                                                    Attorney for Daniel Byrd




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